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ANDRE BIROTTE JR.
United States Attorney
ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division
BENJAMIN R. BARRON (Cal. Bar NO. 257094)
JENNIFER L. WILLIAMS (Cal. Bar NO. 268782)
Assistant United States Attorneys
1400 United States Courthouse
312 North Spring Street
Los Angeles, California 90012

Telephone: (213) 894-3542/5862
Facsimile: (213) 894-0142

E-mail: ben.barron@usdoj.gov

E-mail: jennifer.williams€@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR NO. 11-1075-SJO

 

 

Plaintiff, GOVERNMENT'S POSITION RE: PSR
AND SENTENCING OF DEFENDANT
V. VINCENT VO; DECLARATION OF

 

BENJAMIN R. BARRON; EXHIBITS
VINCENT VO, et al.,

Defendants.

Vvvvvvv`.,`_/V`,vv

 

Plaintiff, United States of America, by and through its
counsel of record, the United States Attorney for the Central
District of California, hereby files its Position regarding the
Presentence Investigation Report (PSR) and the Sentencing of
Defendant Vincent Vo. The government submits that a sentence
that includes an ten-month term of imprisonment, half of which
would be served in home confinement, a three-year period of

supervised release, and a special assessment of $100, is

 

 

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sufficient, but not greater than necessary, to comply with the
goals of sentencing. In addition, the government seeks
restitution in the amount of $13,138.

This document is based upon the attached memorandum of
points and authorities and exhibits thereto, the PSR disclosed to
the parties on February 4, 2013, the files and record in this
case, and any other evidence or argument that the Court may wish
to consider at the time of sentencing.

DATED: May 23, 2013 Respectfully submitted,

ANDRE BIROTTE JR.
United States Attorney

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

/S/
BENJAMIN R. BARRON
JENNIFER L. WILLIAMS
Assistant United States Attorneys

Attorneys for Plaintiff
UNITED STATES OF AMERICA

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. Introduction

On November 29, 2012, defendant Vincent Vo (“defendant”)
pled guilty to one count of Solicitation and Receipt of Kickbacks
for the Receipt of a Benefit from a Federal Health Care Program,
in violation of 42 U.S.C. § 1320a-7b(b)(1)(A) (United States
Probation Office Presentence Report (“PSR”) “I 1-2.) The
conviction stems from defendant's involvement in a sophisticated
scheme to defraud Medicare and Medi-Cal health care benefit
programs, resulting in an actual loss to the victim programs of
nearly $8,000,000 and an intended loss of more than $18,000,000.l

On February 4; 2013, the United States Probation Office
(“USPO”) disclosed the PSR, calculating defendant's sentencing
range under the United States Sentencing Guidelines (the
“guidelines” or “U.S.S.G.”) at 0 to 6 months of imprisonment.
The government calculates defendant's offense level differently.
Specifically, the government recommends that the Court apply:
(1) a two-level increase under § 2B1.1(b)(10)(C) because the
offense involved the possession or use of any authentication
feature; (2) a two-level enhancement under § 2B1.1(b)(11)(A)
because the offense involved sophisticated means; (2) a two-level
increase under U.S.S.G. § 3A1.1(b)(1) because “defendant knew or

should have known that a victim of the offense was a vulnerable

 

l Defendant was separately charged in Los Angeles County
Superior Court with offenses related to the underlying criminal
conduct. On February 7, 2013, defendant pled guilty to a
violation of Welfare and Institutions Code 14107.2, also related
to the receipt of kickbacks, for which defendant was sentenced on
that date to a 36-month term of probation.

 

 

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victim;” and (3) a two-level reduction for defendant's minor
role, under § 3B1.2(b).

Accordingly, the appropriate Guidelines range is 10 to 16
months imprisonment based on a total offense level of 12.
Pursuant to the Guideline calculation and 18 U.S;C. § 3553(a),
the government submits that a restitution order in the amount of
$13,138 and a sentence that includes an eight-month term of
imprisonment, a three-year period of supervised release, a
special assessment of $100, is sufficient, but not greater than
necessary, to comply with the goals of sentencing.

The government agrees with the PSR finding that, given the
significant restitution in this case, and defendant's lack of`
income, any fine should be waived.

II. Facts Relevant to Defendant’s Sentencing
A. The Mbdus Qperandi of the Scheme

The health care fraud conspiracy in which defendant
participated operated in sum as follows:2 Co-defendants Arman
GRIGORYAN, Lianna OVSEPIAN, Nurista GRIGORYAN, and Artak OVSEPIAN
operated a purported medical clinic, Manor Medical Imaging, Inc.
(“Manor”), in Glendale, California. In the scheme, Manor
generated thousands of fraudulent prescriptions for expensive
anti-psychotic medications (“Psych Meds”) for Manor’s “patients”
-- low-income beneficiaries of government funded health care

programs, such as Medicare and Medi-Cal -- who did not in fact

 

2 Unless otherwise indicated, the facts are taken from the
Indictment, the PSR, and the Affidavit of Task Force Officer
Larra Wilbur, sworn to and submitted in support of the criminal
complaint in this case.

 

 

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need the Psych Meds. Those prescriptions appeared to be signed
and issued by co-defendant Kenneth JOHNSON, a medical doctor,
when in fact co-defendant JOHNSON did not issue or lawfully
authorize the Manor Prescriptions, nor did defendant JOHNSON
examine Manor’s “patients.” Indeed, based on the investigation,
which included months of surveillance via a pole camera
positioned on Manor, co-defendant JOHNSON was rarely at Manor and
instead allowed other Manor employees to falsely pose as medical
professionals and to issue the prescriptions using his name and
Medi-Cal and Medicare billing information.

Defendant and other co-conspirators (including Lisa Danielle
MENDEZ; Anthony Glen JONES; David SMITH; and RiChard BOnd
WASHINGTON) worked as patient recruiters who brought and directed
the beneficiaries to Manor with the promise of a cash payment.
Upon arriving a Manor, defendant and co-conspirators ushered
beneficiaries through the clinic’s back door, so as to not
attract attention from the busy street, as the beneficiaries
often traveled in large groups from city busses or car pools with
recruiters. Once inside, each beneficiary presented his or her
health care program identification card and received a fraudulent
prescription for one Psych Med and at least one other drug, which
was added to the prescriptions, again, in an effort to avoid
suspicions.

After the prescriptions were provided to the beneficiaries,
co-conspirators (including Edgar HOVANNISYAN, Artur HARUTYUNYAN,
Mikayel GHUKASYAN, and Artyom YEGHIAZARYAN), loaded beneficiaries

into vans used by Manor and took them to pharmacies, where, under

 

 

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the supervision of defendant and his co-conspirators, the
beneficiaries filled the fraudulent prescriptions. As the
defendants knew (because they would only pay beneficiaries who
had current health care program coverage), the pharmacies would
bill Medicare (via the beneficiaries' prescription drug plans) or
Medi-Cal for each of the fraudulent prescriptions.

However, not all beneficiaries participated in the scheme by
receiving and filling prescriptions. The identities of other
Medicare and Medi-Cal beneficiaries were stolen from them and
were used without those beneficiaries' consent or knowledge. As
a result, beneficiaries were denied coverage for drugs that they
in fact needed because of other drugs that were fraudulently
filled using their identities.

Importantly, the prescriptions were filled when possible, in
the medication's original packaging (instead of the amber colored
bottles). All the filled prescriptions were provided to the co-
conspirators and returned to Manor; the beneficiaries then
received a cash payment (around $100) and were dropped off at a
parking lot or bus stop. From Manor, the medications were
repackaged (if not already in original packaging) and diverted
into the black market where they would be sold to other
pharmacies and likely re-billed to health care programs as though
the drugs were being issued for the first time.

B. Evidence Specifically Pertaining to Defendant

Defendant used his position as a driver for organizations

assisting elderly Vietnamese individuals with Medicare benefits

to obtain and steal their personal information in furtherance of

 

 

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the fraud. Specifically, defendant recruit those persons by
deceiving them into believing that they were receiving legitimate
treatment, following which their identities would be stolen; that
is, the beneficiaries’ Medi-Cal and Medicare numbers would be
used to fill Manor prescriptions without their knowledge or
consent. Attached as Exhibit A are reports of interviews with
some of the beneficiaries recruited by defendant (identified by
his Vietnamese name “Minh”), detailing how defendant deceived
them into providing their Medicare information.

Defendant would bring some of them to the Manor clinic on
the pretense that they would receive a legitimate examination,
when in fact the examination was a sham and a pretense to obtain
the beneficiaries’ Medicare and other personal information. Some
of the beneficiaries did not speak English and thus were not
aware of what was happening when they were at Manor or the nature
of documents that they signed. Seel e.g.c Exhibit A at 79.
Another elderly beneficiary that defendant brought to Manor,
N.P., suffers from memory loss and requires continual
supervision; nevertheless, N.P.'s Medicare benefits were used to
fill eleven Manor prescriptions over three months. _§§ Exhibit A
at 108-09. When one of the beneficiaries asked for documentation
of the visit, the Manor conspirators refused to provide it and
said that “everything was fine.” _§§ Exhibit A at 72.

Defendant take other elderly Vietnamese beneficiaries to
receive massage or acupressure treatment, There, with
defendant's assistance, the beneficiaries would fill out forms

disclosing personal identifying information, such as information

 

 

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relating their Medicare benefits; here again, the some of the
beneficiaries did not know what they were signing. _§§ Exhibit A
at 79, 82. The Manor conspirators would then write and fill
prescriptions in those individuals' names without their knowledge
or consent. vThe beneficiaries did not in fact receive the drugs
filled using their Medicare benefits, nor did they in fact take
Psych Meds.

Between about September 2009 and October 27, 2011, the day
of the takedown, the related pharmacies submitted no less than
approximately $18,045,398 in claims to Medicare or Medi-Cal for
at least 21,075 fraudulent Manor prescriptions. Medicare and
Medi-Cal actually paid the pharmacies a combined amount of
approximately $7,291,419 for 14,705 of those claims.

III. The Presentence Report

The USPO, using the 2012 Guideline Edition, calculates

defendant's total offense level as follows:

Base Offense Level: 6 [U.S.S.G. § 2B1.1(a)(2)]

Loss Amount: +4 [U.S.S.G. § 2B1.1(b)(1)(C)]

Acceptance of

Responsibility: -2 [U.S.S.G. § 3El.1]

Total Offense Level: 8
(PSR 11 25-35.) The PSR also calculates a criminal history
category of l based on zero criminal history points. (PSR 11 39-
40.) Based on a total offense level of 8 and a criminal history

category of 1, the PSR determines the Sentencing Guideline range
as follows: 0 to 6 months of imprisonment; one to three years of

supervised release; and a fine between $1,000 and $10,000. (PSR

p. 3).

 

 

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The government agrees with the PSR finding that a plus-four
enhancement applies for amount of loss, under U.S.S.G.
§ 2B1.1(b)(1)(c). (PsR 1 26).

In addition, however, the government submits that
defendant's Guideline calculation should include a two-level
increase under § 2B1.1(b)(10) and an additional two-level
increase under § 2B1.1(b)(11) because the offense involved
sophisticated means as well as the possession and use of
authentication features, namely the beneficiaries’ Medicare
identification numbers. Additionally, the government submits the
Guideline calculation should include a two-level increase under
U.S.S.G. § 3B1.1(a)(1) because defendant's offense involved a
vulnerable victim and, in fact, it involved multiple vulnerable
victims. Finally, the government moves for a two-level decrease
for minor role under U.S.S.G. § 3B1.2(b).

Accordingly the government asks this court to calculate,

under the 2010 Guideline Edition, as follows:

§ 2131.1(a)(2)]

Base Offense Level: 6 [U.S.S.G.

Loss Amount: +4 [U.S.S.G. § 2B1.1(b)(1)(H)]
Authentication feature; +2 [U.S.S.G. § 2B1.1(b)(10)]
Vulnerable Victims: +2 [U.S.S.G. § 3B1.1(a)(1)]
Minor Role: -2 [U.S.S.G. § 3B1.2(b)]
Acceptance of .

Responsibility: - -2 [U.S.S.G. § 3E1.l]

Total Offense Level: 12

Sophisticated Means and Use of an Authentication Feature:

The Court has already ruled on the applicability of enhancements

 

 

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for sophisticated means and use of an authentication feature in
sentencing co-defendant GHUKASYAN; the Court applied both
enhancements. The Court’s reasoning also applies to defendant.
The government briefly addresses those enhancements here and will
respond in greater detail if necessary in a responsive pleading.

Regarding the sophistication of the scheme, the government’s
argument is identical to its position with respect to GHUKASYAN.
Defendant participated in the scheme aware of the salient
features that made it sophisticated, including the recruitment of
beneficiaries, the provision of sham physical examinations at a
purported medical clinic, the use of beneficiaries to fill
fraudulent prescriptions at pharmacies, the theft of
beneficiaries’ identities, the payments of kickbacks to
beneficiaries in exchange for receiving “medical” treatment, and
the illegal profits stemming from the fraud.

Regarding the use of authentication features, as the
government previously argued and the Court agreed, the scheme
could not function without the use of authentication features, in
particular Medicare numbers. Indeed, defendant admitted in his
plea agreement that he knew that co-conspirators at the Manor
clinic used the beneficiaries’ Medicare benefits were used to
submit fraudulent billings. _§§ Plea Agreement at 7.

Vulnerable victim: The facts as to defendant are
distinguished - and are particularly aggravating - on a
significant issue. As to the beneficiaries recruited by SMITH,
MENDEZ, JONES, and WASHINGTON, the evidence establishes at most

that those individuals were recruited to knowingly fill

 

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fraudulent Manor prescriptions in exchange for money. All of the
interviewed beneficiaries connected to defendant, by contrast,
provided a detailed explanation of the ways that their identities
were stolen and their Medicare benefits used without their
knowledge and consent. These individuals are, without a doubt,
vulnerable victims under the Guidelines.

The Guidelines impose a two-level increase if the offense
involved a vulnerable victim. _§§ U.S.S.G. § 3A1.1(b)(1). The
Application Notes explains that the term “vulnerable victim”
means “a person (A) who is a victim of the offense of conviction
and any conduct for which the defendant is accountable under §
1B1.3 (Relevant Conduct); and (b) who is unusually vulnerable due
to age, physical or mental condition, or who is otherwise
particularly susceptible to the criminal conduct.” Additionally,
the Application Notes explain that the defendant “must have known
of the victim's unusual vulnerability.” While § 3A1.1 does not
define the term “victim,” § 2B1.1 does provide a definition.
Under Application Note 4(e) of that section, “in a case involving
means of identification” the definition of “victim” includes “any
individual whose means of identification was used unlawfully or
without authority.” As the Ninth Circuit has held, “A single
vulnerable victim is sufficient to support application of the
enhancement.” United States v. Scrivener, 189 F.3d 944 (9th Cir.
1999).

The vulnerable victim enhancement has been applied in cases
involving the same or similar factual circumstances present here.

In United States v. Hoogenboom, 209 F.3d 665, 670 (7th Cir.

 

 

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2000), the Seventh Circuit held that elderly and infirm nursing
home patients were “vulnerable victims” for purpose of enhancing
defendant's sentence for scheme to defraud Medicare program by
collecting reimbursement for services not performed using those
individuals' Medicare benefits. Similarly, the Ninth and Fifth
Circuits have held that a vulnerable victim enhancement applies
where a medical doctor commits Medicare or insurance fraud usnig
his patients' benefits. See United States v. Rutqard, 116 F.3d
1270, 1293 (9th Cir. 1997) (applying enhancement where doctor
submitted false claims using patients' Medicare information);
United States v. Bachynskv, 949 F.2d 722, 735-36 (5th Cir. 1991)
(applying enhancement where defendant submitted false claims to
government and insurance companies, and noting that “while
relying on Dr. Bachynsky's ineffective course of treatment, his
patients may have been foregoing more effective, safer, and
legitimate treatments elsewhere”).

Based on the foregoing caselaw, the facts in this case
establish that there was at least one vulnerable victim in this
case and, indeed, that there were multiple vulnerable victims
identified. The evidence summarized above shows that defendant
specifically targeted a vulnerable group, namely, elderly
Vietnamese individuals recruited from senior care centers.
Defendant was able to coax them to provide their information by
making them believe that they were receiving legitimate treatment
such as massage and acupressure. Exhibit A provides an example
of a beneficiary suffering from Alzheimer's, N.P. §§§ Exhibit A

at 108-11. Given the age that defendant targeted, and that he

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targeted those individuals from senior care centers, it is
reasonable to conclude that other recruited beneficiaries were
mentally infirm. Additionally, other beneficiary/victims did not
speak English and thus could not understand what was happening at
the clinic, ld;'at 0077, 00107.

Those individuals actually taken to Manor were also
vulnerable victims in the sense that some of them were led to
believe that they were in fact receiving legitimate care which,
as in the cases above, may have prevented them from seeking other
care that they in fact needed. Indeed, employees at Manor told
at least one victim that “everything was fine” when in fact
Manor’s purported medical examination was fraudulent. ld; At
0072. For such beneficiaries who were unwitting participants in
the fraud and left Manor believing that they had received a
legitimate examination, defendant created the serious danger that
they would not later see a legitimate physician and thus would
not identify medical conditions that could have been treated.

Finally, the beneficiaries were vulnerable victims through
their reliance on Medicare to receive coverage for drugs that
they in fact needed. All of the victims in Exhibit A were
receiving drugs that they actually needed and that were
legitimately prescribed to them by doctors not connected to the
fraud. By using their Medicare coverage fraudulently, defendant
and his co-conspirators placed them in danger of being denied
coverage for those drugs. They also were placed in danger of
having doctors refrain from prescribing them drugs they needed

based on review of their drug prescription history, which

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included the multiple drugs fraudulently prescribed and filled by
the conspirators. This danger is not theoretical; during the
investigation agents identified an identity theft victim who was
denied coverage for drugs he actually needed because the
defendants in this case had stolen his identity. _§§ Exhibit B
at 2:16-19. This concern is of particular significance as to
defendant: for those beneficiaries recruited by defendant with
mental infirmity, there was an even greater risk of serious delay
in reporting and fixing the problem.

Minor Role: Although the foregoing facts are certainly
aggravating, the government also submits that defendant served a
reduced role relative to other recruiters with respect to the
volume of beneficiaries recruited. Defendant is less culpable
than other recruiters such as SMITH and MENDEZ, who participated
in the scheme throughout the investigation and are responsible
for exponentially greater fraudulent billings than defendant.
Unlike SMITH and MENDEZ, who were involved in the scheme
throughout the investigation and were often seen by surveillance
at the Manor clinic, defendant was not seen at Manor by agent
surveillance and the evidence shows that defendant participated
in the scheme for a limited period early in the investigation7
(mid-2010). Accordingly, the government moves for a two-level
reduction for minor role.

IV. Analysis Under 18 U.S.C. § 3553(a)

Both the nature and circumstances of defendant's offense and

the history and characteristics of defendant warrant the

recommended sentence of ten months imprisonment, five months of

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which would be served in home detention as a condition of
supervised release. _e§ U.S.S.G. § 5C1.1(d)(2). Such a sentence
adequately reflects the substantial aggravating considerations in
this matter, while still reflecting that defendant served a
lesser role than other participants in the scheme,

The PSR reflects certain mitigating considerations, in
particular defendant's lack of criminal history and that
defendant spent much of his life under the governing regime in
Vietnam. (PSR 11 39-40, 46-52.) Defendant’s experiences include
the evacuation of his home during the Vietnam War and his having
witnessed “a great deal of death” as a teenager during the war.
(PSR 1 48.) Because of these circumstances, the government
recommends that defendant should serve a portion of his term of
imprisonment in home detention. Furthermore, these mitigating
circumstances are accounted for by the significant benefits
defendant received under the plea agreement, in particular the
government’s agreement to move to dismiss charges against
defendant under 18 U.S.C. § 1028A, which carry a 24-month
mandatory consecutive term of imprisonment. They are also
reflected in the reduced loss amount attributed to defendant, in
the recommended role reduction, and in defendant's criminal
history category.

Defendant thus has received significant benefits to account
for the mitigating circumstances; any further benefit is
unwarranted and would not serve the totality of the Section 3553
factors. The aggravating considerations in this matter,

including the seriousness of defendant's offense conduct and the

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need to deter others from such conduct, call for some period of
incarceration.

Defendant’s offense is a serious, for all the reasons noted
above, Defendant systematically targeted individuals who were
particularly vulnerable by using his access to the elderly and
infirm as a driver at nursing homes. Defendant took advantage of
elderly individuals, including their inability to speak English,
by making them believe that they were simply receiving massage
treatments and filling out forms for them, resulting in the theft
of their identities and Medicare benefits. For others, defendant
took them to the Manor clinic to receive treatment that they
believed was legitimate, from supposed medical practitioners who
could not even communicate with many of them, At least one
beneficiary was told that “everything was okay” following a sham
medical examination, when in fact he could very well have been
suffering from a treatable condition. Indeed, the Manor clinic
refused to provide that person with his ultrasound results, which
suggests that the ultrasound was itself a sham and that the
readings were never even printed out, let alone examined.
Moreover, defendant not only put his victims at jeopardy of
losing coverage for services they needed, but he also caused the
emotional turmoil of dealing with stolen identities.

Additionally, the seriousness and nature of defendant's
conduct reflects poorly on defendant's character. Defendant
committed the underlying offense simply to line his pockets. In

doing so, defendant wilfully participated in a broad conspiracy

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to defraud taxpayer-funded programs designed to benefit the poor
and elderly.

A custody sentence is necessary in this case to reflect the
seriousness of the offense, promote respect for the law, and
provide just punishment. 18 U.S.C. § 3553(a)(1). Imposing a
ten-month “split” sentence, five months of which would be served
in home confinement under U.S.S.G. § 5C1.1(d)(2), would impress
upon defendant the consequences of his criminal behavior, and
would send a message to others that the recruitment and identity
theft of Medicare beneficiaries is unacceptable conduct that will
not be tolerated. 18 U.S.C. §§ 3553(a)(2)(B), (C).

Additionally, pursuant to the parties’ stipulation in the
plea agreement, the government requests that, as a condition of
supervised release, defendant be ordered not work in any
capacity, paid or unpaid, for any employer or at any location
that stores or otherwise handles information related to health
care insurance (including Medicare and Medi-Cal) or that provides
any other medical service. Plea Agreement 1 2(i).

V. Conclusion

For the foregoing reasons, the government respectfully
recommends that the Court order full restitution in the amount of
$13,138, and impose a sentence of ten-months incarceration, five
months of which would be served at home as a condition of
supervised release, a three-year period of supervised release,

and a special assessment of $100.

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DECLARATION OF BENJAMIN R. BARRON

I, Benjamin R. Barron, declare and state as follows:

1. I am an Assistant United States Attorney and am
assigned to the prosecution in this matter, I make this
declaration in support of the government’s sentencing position as
to defendant Vincent Vo.

2. Attached hereto as Exhibit A are redacted but otherwise
true and correct copies of law enforcement reports in this
matter, The law enforcement reports pertain to interviews with
five witnesses. On May 23, 2013, the co-case agent, California
DOJ Special Agent Paul Ramirez, informed me of the following:

a. All five witnesses speak Vietnamese and do not

speak English fluently or at all.

b. The ages of the witnesses are as follows:
i. S.P.: 67
ii. T.L.: 73
iii. H.L.- 70
iv. Q.T.: 80
v. N.P. 70

3. Attached hereto as Exhibit B is a true and correct copy
of an excerpt from the underlying sworn complaint affidavit.

1 declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct
to the best of my knowledge and belief.

Executed May 23, 2013, at Los Angeles, California.

/s/
BENJAMIN R. BARRON

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